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                                                                                    March 27, 2024

                                                                                CLERK, U.S. DISTRICT COURT
                            UNITED STATES DISTRICT COURT                        WESTERN DISTRICT OF TEXAS
                             WESTERN DISTRICT OF TEXAS                              By:        DT
                                  EL Paso
                                  El PASO DIVISION                                                   Deputy

 UNITED STATES OF AMERICA,                        §               Case No:         EP:24-CR-00671-KC
                                                  §
        Plaintiff,                                §   INDIC TMENT
                                                  §
 v.                                               §   CT 1: 8 U.S.C. ' 1326(a) –
                                                  §   Illegal Re-Entry
 MIGUEL ANGEL RODAS-VASQUEZ                       §
                                                  §
        Defendant.                                §


       THE GRAND JURY CHARGES:

                                          COUNT ONE
                                       (8 U.S.C. ' 1326(a))

                                                                          Defendant,

                            MIGUEL ANGEL RODAS-VASQUEZ,

an alien, who had previously been excluded, deported, and removed from the United States,

attempted to enter, entered, and was found in the United States, without having previously received

express consent to reapply for admission from the United States Attorney General and the

Secretary of Homeland Security, the successor pursuant to Title 6, United States Code, Sections

202(3), 202(4) and 557, in violation of Title 8, United States Code, Section 1326(a).

                                              A TRUE BILL.




                                              FOREPERSON OF THE GRAND JURY

JAIME ESPARZA
UNITED STATES ATTORNEY

BY:
      Assi
